       Case 1:07-cv-02844-WMN Document 142 Filed 09/26/18 Page 1 of 3




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0DU\(OOHQ:DUILHOG
                                              
       'HIHQGDQWV
                                              
                                                                                
                                   Motion to Quash and
                              Request For Immediate Sanctions

       7KH3ODLQWLIIV(GZDUG3ULPRIIDQG6X]DQQH3ULPRIIE\DQGWKURXJKFRXQVHOIRU

WKHLUMotionVWDWHDVIROORZV

            2Q'HFHPEHUWKURXJKWKHLUFRXQVHOWKH:DUILHOGVVXEPLWWHGDQ

Application for Writ of GarnishmentSee, Document No. 139

            28 U.S.C.S. § 1961 SURYLGHVLQSHUWLQHQWSDUWDVIROORZV

       D  ,QWHUHVW VKDOO EH DOORZHG RQ DQ\ PRQH\ MXGJPHQW LQ D FLYLO FDVH
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       GDWH RI WKH HQWU\ RI WKH MXGJPHQW DW D UDWH HTXDO WR WKH ZHHNO\ DYHUDJH
       \HDU FRQVWDQW PDWXULW\ 7UHDVXU\ \LHOG DV SXEOLVKHG E\ WKH %RDUG RI
       *RYHUQRUV RI WKH )HGHUDO 5HVHUYH 6\VWHP IRU WKH FDOHQGDU ZHHN
       SUHFHGLQJ>@WKHGDWHRIWKHMXGJPHQW

       E,QWHUHVWVKDOOEHFRPSXWHGGDLO\DQGVKDOOEHFRPSRXQGHGDQQXDOO\

            ,WLVEH\RQGDQ\OHJLWLPDWHGLVSXWHWKDWWKHYHULILDEOH\HDUFRQVWDQWPDWXULW\

7UHDVXU\\LHOGWKHZHHNSUHFHGLQJ-XO\ZDVQRWPRUHWKDQSee, U.S.

Department of the Treasury, Data and Charts — Daily Treasury Yield Curve Rates

            6XEMHFWWRDGLIIHUHQFHRIPHUHSHQQLHVLIWKDWWKHGDLO\SHUGLHPUDWHDVD

PDWWHURIODZLVQRWPRUHWKDQVL[FHQWV



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        Case 1:07-cv-02844-WMN Document 142 Filed 09/26/18 Page 2 of 3



            2QWKHApplicationFRXQVHOIRUWKH:DUILHOGVFODLPVLQWHUHVWRI

DFDOFXODWLRQRILQWHUHVWWKDWUHIOHFWVDFRPSRXQGHGLQWHUHVWUDWHLQH[FHVVRI

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WKDQLQSODLQWLIIV¶IDYRU

            6XFK DQ HJUHJLRXV DQG XQDFFHSWDEOH HUURU LV VXIILFLHQW WR UHQGHU WKH

ApplicationYRLG

            7KHApplicationLVVLJQHGE\³.HQQDUG:DUILHOG´EXWZDVLQIDFWe-filedE\

6WHYHQ02VWHUFRXQVHOIRUWK:DUILHOGV

           7KHILOLQJRIWKHApplicationFOHDUO\YLRODWHVFed. R. Civ. P. 11

           $V WKH Writ of Garnishment KDV DOOHJHGO\ EHHQ VHUYHG RQ WKH

*DUQLVKHH)LQDQFLDO,QVWLWXWLRQWKHUHFDQEHQR³ZLWKGUDZDO´RIWKHSOHDGLQJ7KXVWKH

³VDIHKDUERU´SURYLVLRQVRIFed. R. Civ. P. 11DUHQRWDSSOLFDEOHDQGLPPHGLDWHVDQFWLRQV

DUHZDUUDQWHG

       :KHUHIRUHWKH3ULPRIIVUHTXHVWWKDWWKLV&RXUWZLWKRXWGHOD\TXDVKWKHWrit of

AttachmentDQGDZDUGPRQHWDU\VDQFWLRQVSXUVXDQWWRFed. R. Civ. P. 11




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                                                  6X]DQQH3ULPRII
                                                  By Counsel



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       Case 1:07-cv-02844-WMN Document 142 Filed 09/26/18 Page 3 of 3




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HOHFWURQLFPHDQVWRWKHIROORZLQJ



                                6WHYHQ02VWHU(VT
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